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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


CATHRINE VEIKOS,

       Plaintiff,
                                           Case No. 2:20-cv-04408-JDW
       v.

TRUSTEES OF THE UNIVERSITY OF
PENNSYLVANIA,

       Defendant.


                                     ORDER

      AND NOW, this 22nd day of September, 2021, upon consideration of the

Defendant’s Renewed Motion For A Protective Order (ECF No. 38), and for the reasons

set forth in the accompanying Memorandum, it is hereby ORDERED that the Motion

is DENIED.

                                            BY THE COURT:

                                            /s/ Joshua D. Wolson
                                            JOSHUA D. WOLSON, J.
